  Case 5:04-cr-50131-AWB Document 19 Filed 02/07/05 Page 1 of 3 PageID #: 35



                             UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF SOUTH DAKOTA

                                     WESTERN DIVISION
____________________________

UNITED STATES OF AMERICA,                                       CR. 04-50131

                      Plaintiff,
                                                           DEFENDANT’S FIRST
vs.                                                         MOTION IN LIMINE

JOHN WATERS,

                      Defendant.

___________________________



       Comes now John Waters, Defendant above-named, by and through his attorney, Assistant

Federal Public Defender Monica Thomas, and moves this Honorable Court for its Order in

limine prohibiting the prosecution and witnesses from placing before the jury, either through

testimony, by argument, or other statement, the following matters:

       1. The subject incident transpired on October 20, 2004. On February 1, 2005, Agent

Carl Martinez contacted Dorothy Chipps about her knowledge of the vehicle crash which

occurred on October 20, 2004. Dorothy Chipps was one of the three surviving passengers in the

vehicle. The vehicle crash is alleged to have occurred at approximately 10:15 p.m. Dorothy

Chipps was asked during this interview if the police had chased them earlier on the day of

October 20, 2004, prior to the crash. Dorothy indicated that she was passed out and did not

know if that had happened and only had heard about it from John Waters (see attached

underlined Exhibit 1). The government has also provided an incident report from the Winner

Police Department indicating a pursuit of a vehicle matching the description of the car involved
  Case 5:04-cr-50131-AWB Document 19 Filed 02/07/05 Page 2 of 3 PageID #: 36



in the instant case. This occurred approximately four hours before the crash. There is no

information about who the driver was at this time.1

        2. Defendant requests that the Court prohibit any mention of the pursuit by law

enforcement on the grounds that, under Rule 403, FED . R. EVID ., “[a]lthough relevant, evidence

may be excluded if its probative value is substantially outweighed by the danger of unfair

prejudice, confusion of the issues, or misleading the jury . . . .”

        3. Defendant filed a Request Pursuant to 404(b) (Doc. #9). The government has not

filed any notice under 404(b) that it intends to offer evidence related to prior incidents of

reckless driving.

        Defendant objects to such evidence on the grounds that it is not relevant and, even if the

Court might find some relevance, the evidence would be excludable because its probative value

is substantially outweighed by the danger of unfair prejudice, confusion of the issues, and

misleading of the jury as to the true issues in the case. Specifically, there is no witness as to who

was actually driving the vehicle.

     WHEREFORE, Defendant requests that the relief hereinbefore requested be granted.




        1
         Defendant’s counsel received the various documents referred to in this motion on
February 4, 2005, at the close of business, and February 6, 2005, at approximately 5 p.m., which
is the reason for the late filing of this motion.
U.S.A. v. John Waters
CR 04-50131
Defendant’s First Motion in Limine
February 7, 2005
Page 2
  Case 5:04-cr-50131-AWB Document 19 Filed 02/07/05 Page 3 of 3 PageID #: 37



        Dated this 7th day of February, 2005.

                                       Respectfully submitted,

                                       JEFFREY L. VIKEN
                                       Federal Public Defender
                                       By:
                                         /s/ Monica D. Thomas
                                       Monica D. Thomas, Assistant Federal Public Defender
                                       Attorney for Defendant
                                       Office of the Federal Public Defender
                                       District of South Dakota
                                       703 Main Street, 2nd Floor
                                       Rapid City, SD 57701
                                       Telephone: 605-343-5110 Facsimile: 605-343-1498

                                     CERTIFICATE OF SERVICE

       I hereby certify that on this 7th day of February, 2005, a true and correct copy of the
foregoing Defendant’s First Motion in Limine was served upon the following person, by placing
the same in the service indicated, addressed as follows:

        Jonathan A. Kobes                             [ ]   U.S. Mail
        Assistant U.S. Attorney                       [ ]   Hand Delivery
        United States Courthouse                      [ ]   Facsimile
        515 Ninth Street                              [ ]   Federal Express
        Rapid City, SD 57701                          [X]   Electronic Case Filing



                                                 /s/ Monica D. Thomas
                                                Monica D. Thomas




U.S.A. v. John Waters
CR 04-50131
Defendant’s First Motion in Limine
February 7, 2005
Page 3
